Case 4:04-cv-04590 Document1 Filed on 12/08/04 in TXSD Page 1 of 39

UNITED STATES co TEXAS

SOUTHERN DISTRICT
FILED
IN THE UNITED STATES DISTRICT COURT .
FOR THE SOUTHERN DISTRICT OF TEXAS x DEC - 8 2004

HOUSTON DIVISION cia of Court
6 -~ Wty.
JOANNE MACKAY NASTI, § o
§
Plaintiff, §
§
§ H- -04-45909
Vv. § CIVIL ACTION NO.
§
CIBA SPECIALTY CHEMICALS §
CORPORATION, §
§
Defendant. §

DEFENDANT’S NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1441 et seg., Ciba Specialty Chemicals Corporation
(“Ciba”) files this Notice of Removal of the civil action filed against it by Joanne MacKay Nasti
(“Plaintiff”). Removal is proper based on the following:

1. On September 27, 2004, Plaintiff apparently filed Plaintiff's Original
Petition in the 133rd Judicial District Court of Harris County, Texas, Cause No. 2004-53637. On
October 15, 2004, Plaintiff apparently filed Plaintiff's First Amended Original Petition
(“Amended Petition”). On November 17, 2004, Ciba was served with process through its
registered agent. Ciba timely filed its answer to the Amended Petition on November 30, 2004.

2. The 30-day period within which Defendant is required by the laws of the
United States, 28 U.S.C. § 1446(b), to file this notice of removal -- e.g., the period ending
December 17, 2004 -- has not yet expired.

3. This Court has original subject matter jurisdiction over this civil action
under 28 U.S.C. § 1332, in that it is a civil action between the citizens of different states, and

therefore this action is one which may be removed to this Court by Defendant pursuant to the

HOU02:1008423.2
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 2 of 39

provisions of 28 U.S.C. § 1441. At the time this action was filed in state court, Plaintiff Joanne
MacKay Nasti was, and is, a citizen of Texas. (First Am. Pet. § 2.1.) At the time this action was
filed in state court, Defendant was, and is, a corporation organized under the laws of Delaware
with its principal place of business in Tarrytown, New York. Additionally, the amount in

controversy exceeds $75,000.00.

4. This Court has original subject matter jurisdiction over this civil action
under 28 U.S.C. § 1331 because a federal question is raised. Plaintiff alleges that Ciba “violated
the Family Medical Leave Act, 29 U.S.C. § 2601, et. seq. when it discharged [her].” (First Am.

Pet. ¥ 1.1.)

5. This Court also has supplemental removal jurisdiction pursuant to 28
U.S.C. § 1367 over any of Plaintiff's state-law claims, if viable, because such claims are so
related to Plaintiffs’ federal claim that they form part of the same case or controversy under

Article III of the United States Constitution.

6. By virtue of this removal petition, Defendant does not waive its right to
assert any claims or other motions, including Rule 12 motions, permitted by the Federal Rules of

Civil Procedure.

7. Pursuant to Local Rule 81 of the United States District Court for the
Southern District of Texas, this notice of removal is accompanied by copies of the following:

(i) All executed process in the case (Exhibit A);

(ii) Pleadings asserting causes of action, e.g., petitions, counterclaims, cross-
actions, third-party actions, interventions and all answers to such pleadings (Exhibit B);

(iii) | All orders signed by the state Judge (none);
(iv) The docket sheet (Exhibit C);

(v) An index of matters being filed (Exhibit D); and

HOU02:1008423.2 2
Case 4:04-cv-04590 Document1 Filed on 12/08/04 in TXSD Page 3 of 39

(vi) A list of all counsel of record, including addresses, telephone numbers and
parties represented (Exhibit E).

8. Pursuant to 28 U.S.C. § 1446(d), Defendant shall give written notice of the
filing of this notice of removal to all adverse parties and a copy of this notice is also being filed
with the clerk of the state court in which this case was originally filed.

9. Defendant accordingly prays that this Court take jurisdiction of this action
to its conclusion and to final judgment to the exclusion of any further proceedings in the state
court in accordance with law.

Respectfully submitted,

BAKER BOTTS L.L.P.

   

 

OF COUNSEL: Teresa S. Valderrama

State Bar No. 20422500

State Bar No. 24040924 Federal LD. No. 10687
BAKER BOTTS L.L-P. One Shell Plaza

One Shell Plaza 910 Louisiana
910 Louisiana Houston, Texas 77002

Houston, Texas 77002 Telephone: (713) 229-1860

Telephone: (713) 229-1988 Facsimile: (713) 229-7860
Facsimile: (713) 229-2788

Carrie A. Hays

ATTORNEY-IN-CHARGE FOR
CIBA SPECIALTY CHEMICALS
CORPORATION

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of Defendant’s Notice of Removal has
been served by certified mail, return receipt requested, on counsel for Plaintiff, Gregg M.
Rosenberg, Gregg M. Rosenberg & Associates, 11 Greenway Plaza, Suite 2810, Houston, Texas
77046, on this_ $4? day of December 2004.

 

Teresa. Valderrama

HOU02:1008423.2 3
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 4 of 39

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Cage 4:04-cv-04590 @Wcument 1 Filed on 12/08/04 in TX9p Page 5 of 39
CAUSE NO. 2004-53637

 

 

 

 

 

 

 

 

 

 

JOANNE MACKAY NASTI : IN THE DISTRICT COURT
VS. § 133RD JUDICIAL DISTRICT
CIBA SPECIALTY CHEMICALS
CORPORATION HARRIS COUNTY, TEXAS -<.
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Came to hand: NOVEMBER | ,2004 7) =
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® CITATION & FIRST AMENDED ORIGINAL PETITION = i
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Executed on: NOVEMBER 17 420,04
Executed at 701 BRAZOS ST., #1050, AUSTIN, TEXAS 78701 ,County of TRAVIS
by delivering to CIBA SPECIALTY CHEMICALS CORPORATION, BY DELIVERING TO ITS
REGISTERED AGENT CORPORATION SERVICE COMPANY, BY DELIVERING TO LORENZO FLORES iby

 

  
 
      

 

Certified Mail, Return Receipt Requested, Receipt No. 7002 2410 0000 9640 4373_ ia true copy

of this citation together with the accompanying pleading, having first attached such copy of such
citation to such copy of pleading.

T am over the age of 18, not a party this case, nor am I related to, employed by, or otherwise connected to any party or any party's
attorney in this case, and I have no interest in the outcome of the above numbered -spit. I am of sound mind and have never been
convicted of a felony or misdemeanor involving moral turpitude.

  
  

 

LONE STAR ATTORNEY SERVICE, INC.
6065 HILLCROFT, SUITE 509, HOUSTON, TX 77081

VERIFICATION

THE STATE OF TEXAS §
§
COUNTY OF HARRIS = §

Before me, a notary public, on this day personally appeared the above named authorized person, known to me to be
the person whose name is subscribed to the foregoing document and, being by me first duly sworn, declared that the

statements therein contained are true and correct. Given under my hand and sea/f office on this the 23RD day of
NOVEMBER 20.04 . . ‘

    

  

 

  
 

Notary Public
RA GOODMAN

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, State of Texds
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Case 4:04-cv-04590 Document1 Filed on 12/08/04 in TXSD Page 7 of 39

 

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ENTERED
9004-55630
NO.
JOANNE MACKAY NASTI, § IN THE DISTRICT COURT
Plaintiff §
§
§
VS. § OF HARRIS COUNTY, TEXAS
§
§
CIBA SPECIALTY CHEMICALS § 2
CORPORATION, §
§ \% JUDICIAL DISTRICT
Defendant §

PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

 

1. INTRODUCTION
1.1. Plaintiff demands a JURY TRIAL in this employment discrimination and
retaliation case under the Texas Commission on Human Rights Act (Hereafter, the
“ACT”) and state Common Law as to any and all issues triable to a jury. Plaintiff
alleges Defendant CIBA SPECIALTY CHEMICALS CORPORATION violated
the Act when Defendant state Common Law as to any and all issues triable to a
jury. Plaintiff also alleges that Defendant CIBA SPECIALTY CHEMICALS
CORPORATION violated the Family Medical Leave Act, 29 U.S.C. § 2601, ez.
seg. when it discharged the Plaintiff. Plaintiff alleges Defendant CIBA
SPECIALTY CHEMICALS CORPORATION took adverse personnel actions

against Plaintiff.
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 8 of 39

1.22 COMES NOW, JOANNE MACKAY NASTI, (hereinafter referred to as
“Plaintiff’) complaining of and against CIBA SPECIALTY CHEMICALS
CORPORATION (hereinafter referred to as “Defendant ”) and for cause of action
respectfully shows the court the following:

2. PARTIES

2.1. Plaintiff is an individual residing in The Woodlands, Montgomery County, Texas.

2.2. Defendant is an employer engaging in an industry affecting interstate commerce,
and employs more than 15 regular employees. Defendant can be served by
serving its agent for service, Corporation Service Company, 701 Brazos, Suite
1050, Austin, Texas 78701.

3. VENUE

3.1. Venue of this proceeding is proper in Harris County, Texas pursuant to Texas
Civil Practice & Remedies Code § 15.002 because Harris County is the county in
which all or part of the cause of action accrued, the county where Defendant
maintains a residence, an agency or representative, and the county where the
Plaintiff resides.

4. FACTS

 

4.1. Plaintiff is a 47-year-old female. She worked for Ciba as a Global Account
Executive. From 1997 until 2003, she was ranked in the top 5% of Ciba’s 20,000
employees.

4.2. Ciba assigned Plaintiff to work on the Dow Global Account that is a grade 11 in

the International ranks.
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 9 of 39

4.3.

4.4.

4.5.

4.6.

4.7.

4.8.

In May 2002, Defendant told Plaintiff that she would have to wait at a grade 10
until she had proven herself. Plaintiff secured the account with Dow and had
received accolades from Dow to as high as Ciba’s Division President.

Ciba promised Plaintiff her promotion many times.

In May 2003, there was a new management position available which would have
given Plaintiff the one missing requirement of having direct reports working under
her as identified in SCOPE review for high potential candidates. Defendent
denied Plaintiff the promotion and hired a lesser qualified male who was not in
their Leadership pool.

Defendant gave Plaintiff a 360 review. She was graded the highest rating available
and Defendant told her that she was an incredible leader and very motivated.
Stephan Bochen, President of the Paper Division in Basel, Switzerland, wanted to
interview Plaintiff. In October 2003, Dave Almond contacted Plaintiff to meet
with him in Atlanta airport to keep her “off the radar screen.” Mr. Almond told
Plaintiff that she had an outstanding reputation. Plaintiff told him that she needed
direct reports. Mr. Almond advised that he was interested in her as a Sales
Manager with direct reports and would contact Human Resources and get back to
Plaintiff.

In November 2003, Mr. Bochen called Plaintiff and told her that her current
division boss said she was on a performance improvement plan and untouchable
within the company. Plaintiff was not on any performance improvement plan and,

in fact, had an "exemplary" rating.
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 10 of 39

4.9. Plaintiff contacted Carol Snyder in Human Resources and asked her what
happened. Ms. Snyder asked Plaintiff why she took the interview with Mr.
Almond and said that she should have gotten Bob Becherer’s, her division boss’
permission. Bob Becherer, however, was not nor ever has been her boss. Plaintiff
asked Ms. Snyder about her career development and she said there is now no
career development plan.

4.10. Respondent terminated Plaintiff on Friday January 23, 2004, despite the fact that
she had advised her supervisor that she was undergoing continuing treatment for a
serious medical condition at the time and had requested to be placed on leave
under the FMLA..

4.11. Plaintiff was terminated in violation of the Texas Commission on Human Rights
Act, as amended.

5. TIMELINESS

5.1. Plaintiff brought this suit within sixty (60) days from the date of receipt of Texas
Commission on Human Rights issuance of the Notice of Right to File a Civil
Action. (Exhibit “A”).

5.2. Plaintiff filed Plaintiff's lawsuit within two years of the date Plaintiff filed
Plaintiff's Charge of Discrimination. (Exhibit “B”).

6. ADMINISTRATIVE CONDITIONS PRECEDENT

6.1. Plaintiff has completed all administrative conditions precedent since Plaintiff filed

Plaintiff's charge of discrimination within 180 days of the date Plaintiff learned of

the adverse employment action. (Exhibit “B”).
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 11 of 39

8.1.

9.1.

10.1.

Jurisdiction is also appropriate since this action was filed on or before two years
from the date Plaintiff filed Plaintiff's complaint with the Texas Commission on
Human Rights. (Exhibit “B”).
7. DAMAGES
As a direct and proximate result of the aforementioned arbitrary and capricious
acts, the Plaintiff has suffered grievous harm, including, but not limited to,
substantial loss of income; humiliation and embarrassment among co-workers,
potential future customers, and others; sustained damage to Plaintiff's credibility
and sustained damage to Plaintiff's prospects for future employment.
8. EXEMPLARY DAMAGES
Defendant Ciba’s actions were harsh, oppressive and malicious and as a further
and proximate cause Plaintiff has suffered serious emotional distress due to
Defendant’s conduct. The wrong done by Defendant aggravated by the kind of
willfulness, wantonness, and malice for which the law allows the imposition of
exemplary damages. Defendant acted with an evil intent to harm Plaintiff. The
conduct was intentional, with conscious indifference to the rights of Plaintiff and
without justification or excuse. Plaintiff, therefore, seeks exemplary damages in a
sum to be determined by the trier of fact to serve as punishment to deter
Defendant from such conduct in similar situations.
9 ATTORNEY’S FEES
Defendants’ action and conduct as described herein and the resulting damage and
loss to Plaintiff has necessitated Plaintiff retaining the services of GREGG M.

ROSENBERG & ASSOCIATES, 11 Greenway Plaza, suite 2810, Houston, Texas
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 12 of 39

77046 in initiating this proceeding. Plaintiff seeks recovery of reasonable and
necessary attorney’s fees.
10. JURY DEMAND

11.1. Plaintiff hereby makes Plaintiff's request for a jury trial in this cause pursuant to
Rule 216 of the Texas Rules of Civil Procedure and deposits with the District
Clerk of Harris County, Texas the jury fee of thirty ($30.00) dollars.

11. PRAYER

12.1. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

Defendant be cited to appear and answer, and that on final hearing of this cause

Plaintiff have the following relief:

12.1.1. Judgment against Defendant, for actual damages sustained by
Plaintiff as alleged herein;

12.1.2. Judgment against Defendant for back pay lost by Plaintiff as
alleged herein;

12.1.3. Judgment against Defendant for front pay by Plaintiff as alleged
herein;

12.1.4. Grant Plaintiff general damages for the damage to Plaintiff's
reputation;

12.1.5. Pre-judgment interest at the highest legal rate;

12.1.6. Post-judgment interest at the highest legal rate until paid;

12.1.7. Punitive damages and/or liquidated damages as the case may be.

12.1.8. Damages for mental pain and mental anguish for intentional

infliction of emotional distress;
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in TXSD Page 130
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Case 4:04-cv-

12.1.9, Exemplary damages;

12.1.10, Attorney’s fees:

12.1.1], All costs of court expended herein;

12.1.12. Such other and further relief, at law or in equity, general Or special

to which Plaintiff may show Plaintiff Justly entitled.
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 14 of 39

Respectfully Submitted,

[ire LJ

Gregg M. Rosenberg

Texas State Bar ID 17268750

GREGG M. ROSENBERG & ASSOCIATES
11 Greenway Plaza, Suite 2810

Houston, Texas 77046

(713) 960-8300

(713) 621-6670 (Facsimile)
Attorney-in-Charge for Plaintiff

OF COUNSEL:
GREGG M. ROSENBERG & ASSOCIATES

ATTORNEYS FOR PLAINTIFF

nasti/6.01/ original petition
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 15 of 39

(512) 437-3450
(512) 437-3478

6330 Hwy 290 East, Suite 250
Austin, TX 78723
P. O. Box 13006
Austin, TX 78711-3006
www.tchr.state.tx.us

 

(512) 371-7473 TTY

Texas Workforce Commission
Civil Rights Division

August 13, 2004 Me Wy
ugust 13, 200 gasp Rogue ou)
NOTICE OF RIGHT TO FILE A CIVIL ACTION

Gregg M. Rosenberg

ATTORNEY AT LAW

11 GREENWAY PLAZA, SUITE 2810
HOUSTON, TX 77046-1105

Re: Joanne Nasti v. CIBA SPECIALTY CHEMICALS
EEOC Complaint #330A402814
TCHR/Local Commission Complaint #

Pursuant to Sections 21.252 and 21.254 of the Texas Labor Code, and Chapter 327, Section 327.7 of
the Commission’s Rules, this notice is to advise you of your right to bring a private civil action in state
court in the above-referenced case. PLEASE BE ADVISED THAT YOU HAVE SIXTY (60) DAYS
FROM THE RECEIPT OF THIS NOTICE TO FILE THIS CIVIL ACTION. If the above-referenced
case was processed by the United States Equal Employment Opportunity Commission or another
agency, you should also notify that agency as to your intention to file a civil action.

If your case has been successfully resolved by the U. S. Equal Employment Opportunity Commission
or another agency through a voluntary settlement or conciliation agreement, you may be prohibited by
the terms of such an agreement from filing a private civil action in state court pursuant to the Texas
Commission on Human Rights Act, as amended.

The United States Supreme Court has held in Kremer v. Chemical Construction Corporation, 456 U.S.
461 (1982), that a federal district court must generally dismiss a Title VII action involving the same
parties and raising the same issues as those raised in a prior state court action under Chapter 21 of the
Texas Labor Code. Therefore, filing a lawsuit in state court based on the issuance of this notice of
right-to-sue may prevent you from filing a lawsuit in federal court based on Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. 2000e - et seq.

ax plawn, UZ
( } “ ‘
Ra a rth ey ;
Acting Employment Invest. Mgr. ne

RETAIN ENVELOPE TO VERIFY DATE RECEIVED
Copy to:

Patricia L. Wager
ASSISTANT GENERAL COUNSEL
P.O. BOX 2005

(888) 452-4778 Toll Free

(800) 735-2989 Texas Relay

TARRYTOWN, NY 10591 CERT EXHIBIT

The “Texas Workforce Commission is an Equal Opportunity Employer’ i A
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 16 of 39

 

 

 

 

 

 

 

 

 

 

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CHARGE OF DISCRIMINATION AGENCY CHARGE NUMBER
mas form ip affected by the Privacy Act of 1974; Sea Privacy Aci Stetament before completing this” FEPA
EEOC | 330-2004-928 /Y
and EEOC
State or loca! Agency, if any
NAME (ineicate Mr., Ms., Mrs.) HOME TELEPHONE (inciude Area Code)
Ms. JoAnne Nasti (281) 367-2479
STREET ADDRESS CITY, STATE AND ZIP CODE DATE OF BIRTH
3 Raintree Place, The Woodlands, Texas 77381 10/27/56

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR LOCAL GOVERNMENT
AGENCY WHO DISCRIMINATED AGAINST ME (/f more than one list below.)

 

 

 

 

 

 

 

 

 

 

NAME _ NUMBER OF EMPLOYEES, MEMBERS TELEPHONE (include Area Code)
Ciba Specialty Chemicals 500+ (281) 363-4 909

STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
540 White Plains Road, Tarrytown, NY 10591

NAME . TELEPHONE NUMBER (Include Area Code)

STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY

CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es)) DATE DISCRIMINATION TOOK PLACE

EARLIEST (ADEA/EPA] LATEST (ALL)

Cc] Race [| coLor [x] SEX [_] Revicion [_] ace Jan. 23, 2004

[] Revauation [7] Nationa, [7] ovsaaiury [7] orner specity
ORIGIN {Cj CONTINUING ACTION

THE PARTICULARS ARE (if edditional paper is needed, attach extra sheet(s)):

 

 

Please see attached.

 

! want this charge filed with both the EEOC and the Stata or local Agency, if any) NOTARY - (When necessary for State and Local Requirements)

| will advise the agancies i?! change my address or telephone number and | will
cooperate fully with them in the processing of my charge In accordance with thal | swearer othr that | have read the au ae
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| declare under penalty of porfury fal the foregoing is true and correct, SIGNA F COMPLAINA * oN EXPIRE
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Date | __ Charging Party /Signeture) qlgi |aood
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EEOC FORM 5 (10/94) (/
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 17 of 39
@3/@3/2084 15:52 7136210076 ROSENBERG PAGE 04

1. Tam a 47-year-old female. I worked for the Respondent, Ciba Specialty Chemicals (Respondent)
as a Global Account Executive. From 1997 until 2002, 1 was ranked in the top 1% of
Respondent’s 20,000 employees. |

2. Respondent assigned me to work on the Dow Global Account which is a grade 11 in the
International ranks.

3. In May 2002, Respondent told me I would have to wait at a grade 11 until I had proven myself. I
secured the account with Dow and I received accolades from Dow to Respondent’s President.

4. Respondent promised me many promotions.

3. In May 2003, there was a new management position available which would have given me one
missing requirement of having direct reports working under me. Respondent denied me the
promotion and hired a lesser qualified male who was not in Respondent's management
development pool. — oO

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8. In November 2003, Mr. Bochen called me and told me that my division boss said I was on a
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improvement plan.

9, Icontacted Caro) Snyder in Human Resources and asked ber what happened. Ms. Snyder asked

me why ] took the interview with Mr. Almond and said that I should have gotten Bob Becker,
my division boss’s permission. I asked Ms. Snyder about my career development and she said
there is no career development.

10. Respondent terminated me on Friday January 23, 2004.

11. Respondent discriminated and retaliated against me and placed me in violation of Title VI of
the Civil Rights Act of 1964, as amended and the Texas Commission on Human Rights Act, as
amended based on my gender (female).

12. The information provided in this Charge of Discrimination is provided for the express purpose
of assisting the Equal Employment Opportunity Commission and/or the Texas Commission on
Human Rights with its investigation of this claim. This information is not meant-to be
exhaustive or all encompassing, but rather to give the respondeni fair notice of the claims being
asserted herein. This information is not being provided so that an attorney representing the
Respondent at some later date in the defense of a trial stemming from this Charge can use it to
insinuate that it is inclusive to the last detail of the sum of the allegations being advanced.
against the Respondent.
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Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 19 of 39

NO..2004-53637 FILE COPY

 

JOANNE MACKAY NASTI, | § IN THE DISTRICT COURT
Plaintiff §
VS. § OF HARRIS COUNTY, TEXAS
CIBA SPECIALTY CHEMICALS §
CORPORATION, §
§ 133% JUDICIAL DISTRICT
Defendant §
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ea BBX
PLAINTIFF’S FIRST AMENDED PETITION EOyr wf
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TO THE HONORABLE JUDGE OF SAID COURT: GO, oe
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1. INTRODUCTION

1.1. Plaintiff demands a JURY TRIAL in this employment discrimination and
retaliation case under the Texas Commission on Human Rights Act (Hereafter, the
“ACT”) and state Common Law as to any and all issues triable to a jury. Plaintiff
alleges Defendant CIBA SPECIALTY CHEMICALS CORPORATION violated
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1.2 COMES NOW, JOANNE MACKAY NASTI, (hereinafter referred to as

“Plaintiff’) complaining of and against CIBA SPECIALTY CHEMICALS
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 20 of 39

NO..2004-53637

  
 

 

JOANNE MACKAY NASTI, § IN THE DISTRICT COURT
Plaintiff § €
VS. § OF HARRIS COUNTY, TEXAS
CIBA SPECIALTY CHEMICALS §
CORPORATION, §
§ 1337 JUDICIAL DISTRICT
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PLAINTIFF’S FIRST AMENDED PETITION . “4.0% © %, \
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Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 21 of 39

CORPORATION (hereinafter referred to as “Defendant ”’) and for cause of action
respectfully shows the court‘the following:
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2.1. Plaintiff is an individual residing in The Woodlands, Montgomery County, Texas.

2.2. Defendant is an employer engaging in an industry affecting interstate commerce,
and employs more than 15 regular employees. Defendant can be served by
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3.1. Venue of this proceeding is proper in Harris County, Texas pursuant to Texas
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4. FACTS

4.1. Plaintiff is a 47-year-old female. She worked for Ciba as a Global Account
Executive. From 1997 until 2003, she was ranked in the top 5% of Ciba’s 20,000
employees.

4.2. Ciba assigned Plaintiff to work on the Dow Global Account that is a grade 11 in
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received accolades from Dow to as high as Ciba’s Division President.

4.4. Ciba promised Plaintiff her promotion many times.
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 22 of 39

4.5. In May 2003, there was a new management position available which would have
given Plaintiff the one missing requirement of having direct reports working
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denied Plaintiff the promotion and hired a lesser qualified male who was not in
their Leadership pool.

4.6. Defendant gave Plaintiff a 360 review. She was graded the highest rating
available and Defendant told her that she was an incredible leader and very
motivated.

4.7. Stephan Bochen, President of the Paper Division in Basel, Switzerland, wanted to
interview Plaintiff. In October 2003, Dave Almond contacted Plaintiff to meet
with him in Atlanta airport to keep her “off the radar screen.” Mr. Almond told
Plaintiff that she had an outstanding reputation. Plaintiff told him that she needed
direct reports. Mr. Almond advised that he was interested in her as a Sales
Manager with direct reports and would contact Human Resources and get back to
Plaintiff.

4.8. In November 2003, Mr. Bochen called Plaintiff and told her that her current
division boss said she was on a performance improvement plan and untouchable
within the company. Plaintiff was not on any performance improvement plan and,
in fact, had an "exemplary" rating.

4.9. Plaintiff contacted Carol Snyder in Human Resources and asked her what
happened. Ms. Snyder asked Plaintiff why she took the interview with Mr.
Almond and said that she should have gotten Bob Becherer’s, her division boss’
permission. Bob Becherer, however, was not nor ever has been her boss. Plaintiff
asked Ms. Snyder about her career development and she said there is now no

career development plan.
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4.10. Respondent terminated Plaintiff on Friday January 23, 2004, despite the fact that
she had advised her supervisor that she was undergoing continuing treatment for a
serious medical condition at the time and had requested to be placed on leave
under the FMLA..

4.11. Plaintiff was terminated in violation of the Texas Commission on Human Rights
Act, as amended.

5. TIMELINESS

5.1. Plaintiff brought this suit within sixty (60) days from the date of receipt of Texas
Commission on Human Rights issuance of the Notice of Right to File a Civil
Action. (Exhibit “A”).

5.2. Plaintiff filed Plaintiff's lawsuit within two years of the date Plaintiff filed
Plaintiff's Charge of Discrimination. (Exhibit “B’”’).

6. ADMINISTRATIVE CONDITIONS PRECEDENT

6.1. Plaintiff has completed all administrative conditions precedent since Plaintiff filed
Plaintiff's charge of discrimination within 180 days of the date Plaintiff learned of
the adverse employment action. (Exhibit “B”).

Jurisdiction is also appropriate since this action was filed on or before two years
from the date Plaintiff filed Plaintiff's complaint with the Texas Commission on
Human Rights. (Exhibit “B”).

7. DAMAGES

8.1. As a direct and proximate result of the aforementioned arbitrary and capricious
acts, the Plaintiff has suffered grievous harm, including, but not limited to,
substantial loss of income; humiliation and embarrassment among co-workers,
potential future customers, and others; sustained damage to Plaintiff's credibility

and sustained damage to Plaintiff’s prospects for future employment.
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8. EXEMPLARY DAMAGES

9.1. Defendant Ciba’s actions were harsh, oppressive and malicious and as a further
and proximate cause Plaintiff has suffered serious emotional distress due to
Defendant’s conduct. The wrong done by Defendant aggravated by the kind of
willfulness, wantonness, and malice for which the law allows the imposition of
exemplary damages. Defendant acted with an evil intent to harm Plaintiff. The
conduct was intentional, with conscious indifference to the rights of Plaintiff and
without justification or excuse. Plaintiff, therefore, seeks exemplary damages in a
sum to be determined by the trier of fact to serve as punishment to deter
Defendant from such conduct in similar situations.

9 ATTORNEY’S FEES

10.1. Defendants’ action and conduct as described herein and the resulting damage and
loss to Plaintiff has necessitated Plaintiff retaining the services of GREGG M.
ROSENBERG & ASSOCIATES, 11 Greenway Plaza, suite 2810, Houston, Texas
77046 in initiating this proceeding. Plaintiff seeks recovery. of reasonable and
necessary attorney’s fees.

10. JURY DEMAND

11.1. Plaintiff hereby makes Plaintiff's request for a jury trial in this cause pursuant to
Rule 216 of the Texas Rules of Civil Procedure and deposits with the District
Clerk of Harris County, Texas the jury fee of thirty ($30.00) dollars.

11. PRAYER

12.1. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

Defendant be cited to appear and answer, and that on final hearing of this cause

Plaintiff have the following relief:
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12.1.1. Judgment against Defendant, for actual damages sustained by
Plaintiff as alleged herein;

12.1.2. Judgment against Defendant for back pay lost by Plaintiff as
alleged herein;

12.1.3. Judgment against Defendant for front pay by Plaintiff as alleged
herein;

12.1.4. Grant Plaintiff general damages for the damage to Plaintiff's
reputation;

12.1.5. Pre-judgment interest at the highest legal rate;

12.1.6. Post-judgment interest at the highest legal rate until paid;

12.1.7. Punitive damages and/or liquidated damages as the case may be.

12.1.8. Damages for mental pain and mental anguish for intentional

infliction of emotional distress;

12.1.9. Exemplary damages;

12.1.10. Attorney’s fees;

12.1.11. All costs of court expended herein;

12.1.12. Such other and further relief, at law or in equity, general or special

to which Plaintiff may show Plaintiff justly entitled.
Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 26 of 39

Respectfully Submitted,

Wh,

Gregg M. Rosenberg

Texas State Bar ID 17268750

GREGG M. ROSENBERG & ASSOCIATES
11 Greenway Plaza, Suite 2810

Houston, Texas 77046

(713) 960-8300

(713) 621-6670 (Facsimile)
Attorney-in-Charge for Plaintiff

 

OF COUNSEL:
GREGG M. ROSENBERG & ASSOCIATES

ATTORNEYS FOR PLAINTIFF

nasti/6.01/ first amended petition
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CAUSE NO. 2004-53637 SS

JOANNE MACKAY NASTI, § IN THE DISTRICT COURT OND ;
Plaintiff, :

vs. HARRIS COUNTY, TEXAS

CIBA SPECIALTY CHEMICALS :

CORPORATION, §
Defendant. 133rd JUDICIAL DISTRICT

DEFENDANT’S ORIGINAL ANSWER
TO THE HONORABLE JUDGE OF THIS COURT:
Defendant Ciba Specialty Chemicals Corporation (“Ciba”) files this original
answer and would show the court as follows:

I.
General Denial

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Ciba generally denies
the allegations contained in Plaintiff's First Amended Original Petition (‘Amended Petition”)
and demands strict proof of each and every allegation that Plaintiff makes.

II.
Special Denial

Ciba specially denies that Plaintiff is entitled to a jury on all issues alleged in her
Amended Petition. Ciba further specially denies that Plaintiff may recover the categories of

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damages sought by the Amended Petition.

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Defenses, Affirmative Defenses, and Other Matters
1. Plaintiff's Amended Petition fails to state a claim upon which relief can be
granted.
2. Plaintiff has failed to mitigate alleged damages.
3. Damages, if any are awarded, should be reduced by interim earnings or

amounts earnable with reasonable diligence by Plaintiff and by other amounts recovered by
Plaintiff from any interim source.

4, Ciba is entitled to an offset for or monies owed by Plaintiff.

5. To the extent applicable, Ciba asserts the defenses of estoppel, waiver,
unclean hands and ratification.

6. Ciba asserts the defense of election of remedies.

7. Plaintiff's damages, if any, must be reduced pursuant to the doctrine of
after-acquired evidence.

8. To the extent Plaintiff's claims and/or damages are barred by the doctrine
of laches and/or applicable periods of limitations, Ciba asserts those defenses.

9. Plaintiff has failed to timely file and serve this lawsuit with respect to
claims under the Texas Labor Code.

10. To the extent Plaintiff has failed to timely exhaust internal and external
administrative remedies, Plaintiffs claims are barred.

11. Any and all actions taken by Ciba with respect to Plaintiff's employment

were for legitimate, non-discriminatory reasons and were based on factors other than Plaintiff's

gender or protected activity, if any.

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12. Ciba’s policies and actions affecting Plaintiff's employment were
justified, job related and for business reasons necessary to the normal operation of the business.

13. Ciba acted reasonably and in good faith at all material times based on all
relevant facts and circumstances known by it at the time it so acted and, accordingly, Plaintiff is
barred from recovery in this action on each purported claim asserted.

14. Ciba asserts that Plaintiffs alleged injuries arise in whole or in part from
the conduct of Plaintiff and/or third parties, and not from the conduct or breach of any duty by
Ciba.

15. Ciba is not liable for punitive damages because even if there were any
discriminatory conduct by any of Ciba’s managerial agents, it would be contrary to Ciba’s good
faith efforts to enforce its anti-discrimination policies.

16. Any award of punitive damages in this case would violate the Texas
Constitution and the due process clauses of the Fifth and Fourteenth Amendments to the United
States Constitution, as well as guarantees contained in the Sixth and Eighth Amendments thereto.

17. The tort reform cap on punitive or exemplary damages imposed by
Chapter 41 of the Civil Practice & Remedies Code applies to limit Plaintiff's recovery for any
alleged tort.

18. | Damages under the Texas Labor Code are limited by that statute.

19. Ciba reserves the right pursuant to Transportation Ins. Co. v. Moriel to
bifurcate the determination of the amount of punitive damages, if any, from the remaining issues
in the trial.

20. Ciba asserts the defenses and limitations on liability and damages as set

out in Chapters 101, 104, and 108 of the Civil Practice & Remedies Code.

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Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 31 of 39

21. Ciba asserts that the damages sought by Plaintiff for alleged humiliation,
embarrassment, and sustained damage to her credibility and prospects for future employment are
barred because any statements on which the damages are based were qualifiedly privileged,
substantially true or based on opinion, and non-defamatory.

22. Ciba asserts that the damages sought by Plaintiff for alleged humiliation,
embarrassment, and sustained damage to her credibility and prospects for future employment are
barred because any statements on which the damages are based were not published.

23. Ciba asserts that the damages sought by Plaintiff for alleged humiliation,
embarrassment, and sustained damage to her credibility and prospects for future employment are
barred by the applicable period of limitations.

24. Ciba asserts that it is entitled to reasonable and necessary attorneys’ fees
under the Christiansburg Garment standard for having to defend itself against the false and
wholly frivolous allegations contained in the Amended Petition because Plaintiff knew they were
false when filed and also because Plaintiff continued to prosecute these claims even after she
knew them to be meritless, groundless and brought in bad faith.

25. Ciba reserves the right to amend this Answer if further investigation
and/or discovery reveal that supplementation or correction of any statement or answer contained
herein is necessary.

IV.
Prayer

Ciba prays that Plaintiff take nothing by reason of her suit and that all court costs
and attorneys’ fees be taxed and adjudged against her. Ciba further prays for such other and

further relief, both general and special, at law and in equity, to which it may be justly entitled.

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Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 32 of 39

Respectfully submitted,

BAKER BOTTS L.L.P.

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By: . a“ awh? a ee
* “Teresa S. Valderrama
State Bar No. 20422500
Carrie A. Hays
State Bar No. 24040924
One Shell Plaza
910 Louisiana
Houston, Texas 77002-4995
(713) 229-1234 (Telephone)
(713) 229-1522 (Facsimile)

ATTORNEYS FOR DEFENDANT CIBA
SPECIALTY CHEMICALS CORPORATION

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been forwarded
to Gregg M. Rosenberg, Gregg M. Rosenberg & Associates, 11 Greenway Plaza, Suite 2810,
Houston, Texas 77046, counsel for Joanne MacKay Nasti, by certified mail, return receipt
requested, this 30th day of November 2004. ae

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Teresa-S. Valderrama

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EXHIBIT D

Index of Matters Being Filed

1. All executed process in the case (Exhibit A);

2 Pleadings asserting causes of action, e.g., petitions, counterclaims, cross-actions, third-
party actions, interventions and all answers to such pleadings (Exhibit B);

3. All orders signed by the State Judge (none);

4. The docket sheet (Exhibit C);

5. A list of all counsel of record, including addresses, telephone numbers and parties
represented (Exhibit E).

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EXHIBIT E

List of Attorneys

Attorneys for Plaintiff, Joanne MacKay Nasti:

Gregg M. Rosenberg

Gregg M. Rosenberg & Associates
11 Greenway Plaza, Suite 2810
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(713) 960-8300

(713) 621-6670 (Facsimile)

Attorneys for Defendants Ciba Specialty Chemicals Corporation:

Teresa S. Valderrama
Baker Botts L.L.P.

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713-229-7860 (Facsimile)

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Case 4:04-cv-04590 Document 1 Filed on 12/08/04 in TXSD Page 39 of 39

JS 44
(Rev 07/89)

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. This
form, approved by the Judicial Conference of the United States in September 1974, 1s required for the use of the Cterk of Court for the purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON THE
REVERSE OF THE FORM.)

1(a) PLAINTIFFS Ciba Specialty Chemicals Corporation

Joanne McKay Nasti DEFENDANTS

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF ___ Montgomery County, TX
(EXCEPT IN U.S PLAINTIFF CASES)

COUNTY OF RESIDENCE OF FIRST LISTED OEFENDANT
(IN US. PLAINTIFF CASES ONLY)

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NOTE

Gregg M. Rosenberg
Gregg M. Rosenberg & Associates

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(C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) SOUTHERN DISTRICT OF 1 EXAS

FILEDperesa S. Valderrama

og Baker Botts LLP (0 o

11 Greenway Plaza, Suite 2810 . uisiana j j -_ 4A 4 9
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(713) 960-8300 (713) 229-1860
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140 Negotiable Instrument
150 Recovery of Overpayment &
Enforcement of Judgment

451 Medicare Act

152 Recovery of Defaulted
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153 Recovery of Overpayment of
Veteran's Benefits
Oo 160 Stockholders Suits
190 Other Contract
195 Contract Product Liabitity

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330 Federal Employers’ Liability

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630 Liquor Laws
640 RR & Truck
656 Airline Regs
660 Occupational Safety/Health
690 Other

28 USC 157

 

PROPERTY RIGHTS

 

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REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

 

O 210 Land Condemnation
220 Foreclosure
230 Rent Lease & Ejectment
240 Torts to Land
245 Tort Product Liability
290 All Other Real Property

 

O 441 Voting

442 Employment

443 Housing/Accommodations
444 Welfare

440 Other Civi Rights

 

Oo 510 Motions to Vacate Sentence

O 530 General

535 Death Penalty

Habeas Corpus

540 Mandamus & Other
550 Other

 

Oo 710 Fair Labor Standards Act
O 720 Labor/Mgmt Relations

Oo 730 Labor/Mgmt Reporting &
Oisciosure Act

Oo 740 Railway Labor Act
790 Other Labor Litigation

CO 791 Empl Ret Inc Secunty Act

oO 861 HIA (1395ff)

O 862 Black Lung (923)
0 863 DIWC/DIWW (405(g))
O 864 SSID Title XVI

O 865 RSI (405(g))

 

450 Commerce/ICC Rates/etc

460 Deportation

470 Racketeer influenced and
Corrupt Organizations

Oo 810 Selechve Service

850 Securtres/Commodites/
Exchange

875 Customer Chatienge
12 USC 3410

891 Agncultural Acts

892 Economic Stabilization Act

893 Environmental Matters

894 Energy Allocation Act

895 Freedom of information Act

900 Appeal of Fee Determination

 

 

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950 Consti lity of State
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Oo 870 Taxes (U S. Plaintff or
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874 IRS — Third Party 26 USC
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890 Other Secunty Actions

 

 

 

 

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IF ANY:
DATE December 8, 2004

UNITED STATES DISTRICT COURT

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